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 1   LAW OFFICE OF DAVID A. TORRES
     Attorney at Law, SBN 135059
 2   1318 K Street
     Bakersfield, CA 93301
 3   Ph.: (661)326-0857
     Fax.: (661) 326-0936
 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     OHTONIEL PARRA-GALLARDO
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 8
                   IN THE UNITED STATES DISTRICT COURT
 9
                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                             Case No.: 12-CR-00130 AWI
13
                                   Plaintiff,              STIPULATION AND PROPOSED
14                                                         ORDER TO SET TRIAL DATE
15   vs.
16   LUIS MIRABETE-PENA,
     BENJAMIN APARACIO-PABLO,
17   OTHONIEL PARRA-GALLARDO,
     FELIX SANTIAGO-MATIAS,
18   MARCO ANTONIO ARIAS-SOLIS,
     JENNY THANH NGUYEN,
19   UBALDO CASTILLO-HERNANDEZ,
     DALIA REYES-SERAPIO and
20   ERETZANDERT MORALES-LOZANO.
21                                 Defendant,
22   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: DENNIS

23   L. BECK AND CHRISTOPHER BAKER, ASSISTANT UNITED STATES ATTORNEY:
24          COMES NOW counsel for all defendants through their attorney of record and hereby
25   files a stipulation and proposed order requesting the Jury Trial be set for February 26, 2013,
26   counsel estimates trial to last 10 days. This is a mutual agreement between all counsel and
27   AUSA Christopher Baker.

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           Case 1:12-cr-00130-AWI-BAM Document 65 Filed 10/10/12 Page 2 of 3


 1   Dated: September 27, 2012                /s/Dale Blickenstaff
                                              DALE BLICKENSTAFF
 2                                            Attorney for Defendant
                                              LUIS MIRABETE-PENA
 3
 4
     Dated: September 27, 2012                /s/ Salvatore Sciandra
 5                                            SALVATORE SCIANDRA
                                              Attorney for Defendant
 6                                            BENJAIN APARACIO-PABLO
 7

 8   Dated: September 27, 2012                /s/ David A. Torres
                                              DAVID A. TORRES
 9                                            Attorney for Defendant
                                              OTHONIEL PARRA-GALINDO
10
11   Dated: September 27, 2012                /s/Jon Renge
                                              JON RENGE
12                                            Attorney for Defendant
                                              FELIX SANTIAGO-MATIAS
13
14   Dated: September 27, 2012                /s/ Richard A. Beshwate
                                              RICHARD A. BESHWATE
15                                            Attorney for Defendant
                                              MARCO ANTONIO ARIAS-SALAS
16
17
     Dated: September 27, 2012                /s/ Robert Wilkinson
18                                            ROBERT WILKINSON
                                              Attorney for Defendant
19                                            JENNY THANH NGUYEN
20
21   Dated: September 27, 2012                /s/ Mark W. Coleman
                                              MARK W. COLEMAN\
22                                            Attorney for Defendant
                                              UBALDO CASTILLO-HERNANDEZ
23
24
     Dated: September 27, 2012                /s/ Daniel A. Bacon
25                                            DANIEL A. BACON
                                              Attorney for Defendant
26                                            Dalia Reyes-Serapio
27

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           Case 1:12-cr-00130-AWI-BAM Document 65 Filed 10/10/12 Page 3 of 3


 1   Dated: September 27, 2012                         /s/ Anthony Capozzi
                                                       ANTHONY CAPOZZI
 2                                                     Attorney for Defendant
                                                       ERETZANDERT MORLAES-LOZANO
 3
 4   Dated: September 27, 2012                         /s/ Christopher Baker
                                                       CHRISTOPHER BAKER
 5                                                     Assistant United States Attorney
 6
 7

 8                                             ORDER
 9          IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
10   §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
11         IT IS SO ORDERED.
12        Dated:     October 9, 2012                        /s/ Dennis L. Beck
     3b142a                                          UNITED STATES MAGISTRATE JUDGE
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